                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:05CR294


                                             )
UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )              ADDENDUM TO
                                             )              DOC. 106 ORDER
DUNCAN CARSON                 (7)            )
                                             )
                                             )

        THIS MATTER IS BEFORE THE COURT on its own motion. It has come to the
attention of the Court that the Order dated November 27, 2006 [doc. 106] did not require the
defendant to report to the Bureau of Prisons for the psychiatric evaluation. This Addendum to the
previous Order now requires the defendant to report to the Bureau of Prisons as directed by the
United States Marshals Service, for the purpose of the psychiatric evaluation.

        IT IS THEREFORE ORDERED that the defendant shall report to the Bureau of
Prisons as directed by the United States Marshals Service in order to accomplish his psychiatric
evaluation.

       IT IS SO ORDERED.

                                                 Signed: November 29, 2006




      Case 3:05-cr-00294-GCM           Document 107        Filed 11/29/06      Page 1 of 1
